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UNITED STATES DISTRICT COURi
DISTRICT OF COLORADO

Civil Action No. 09-CV-02974-DME-BMB
WILDEARTH GUARDIANS

Plaintiff,

LAMAR UTILITIES BOARD d/b/a LAMAR LIGHT AND POWER, and ARKANSAS RIVER
POWER AUTHORITY

Defendant.

 

LAW STUDENT APPEARANCE FORM

 

1. Law Student Certification

I certify that:

(1) Tam duly enrolled in University of Denver, Sturm College of Law, in accordance
with part B.1 of the Student Practice Rule of this court.

(2) I. am receiving no compensation from the client in accordance with part B.6 of the
Student Practice Rule of this court.

(3) 1 am familiar with and will comply with the Federal Rules of Civil Procedure, the
Federal Rules of Evidence, and this court’s Local Rules of Practice and Website
(cod.uscourts.gov), including the Judicial Officers’ Procedures.

Dated: February 15.2010

/s/ AllisonVetter
Signature of Student
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2. Law School Certification
I certify that this student:

(1) has completed at least two semesters of law school, including a course in

Evidence, and is enrolled in (or has completed) an approved clinical program at
the law school;

(2) is qualified, to the best of my knowledge, to provide the legal representation
permitted by the Student Practice Rule of this court;

(3) that Michael R. Harris, who will serve as supervising attorney, is employed in a

clinical program approved by this school.

Dated: February 15, 2010 /s/ Christine Cimini
Signature of Dean or Authorized Designee

Director of Clinical Programs
(Position of Above)

3. Supervising Attorney’s Certification

As a member of the bar of the United States District Court for the District of Colorado, I
certify that I will:

(1) assume personal professional responsibility for the students work in accordance
with the Student Practice Rule of this court;

(2) guide and assist this student as necessary or appropriate under the circumstances;
and

(3) appear with this student in all proceedings in this matter.

Dated: February 15, 2010 /s/ Michael R. Harris
Signature of Attorney
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4. Consent of Client

I consent to be represented by student attorney, Allison Vetter, in this matter in
accordance with the Student Practice Rule of this court.

I authorize this student: to appear in this matter on my behalf and to prepare court papers
under the supervision of an attorney who is admitted to practice before this court and employed
in the clinical program at the law school.

Dated: February 15, 2010 /s/ Jeremy Nichols
Signature of Client

5. Judicial Consent

1 authorize this student to appear in this matter pursuant to the Student Practice Rule of
this court, except __ Ne excentons
Or

Dated: Fe b ,. 2.2, 2010 bel
AaAL t Ko G, DB: Sf

Signature of District Judge

or Magistrate Judge Exer ® ina
Consent Jurisdiction Pursuant
to D.C.COLO.LCivR 72.2

Consent of Opposing Counsel

Pursuant to Rule 7.1, through their counsels, Plaintiff WildEarth Guardians has conferred with
Defendants LUB & ARPA, and the Defendants have agreed not to oppose this motion.
